     Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 1 of 7 PageID #:176



                     UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CYNERGY DATA LLC                                     )
                                                     )
       Plaintiff/Counterclaim-Defendant,             )
                                                     )
       v.                                            )       Case No. 18-cv-1459
                                                     )
BMO HARRIS BANK N.A.,                                )       Hon. Judge John Z. Lee
                                                     )
       Defendant/Counterclaim-Plaintiff.             )



                             JOINT INITIAL STATUS REPORT

       The parties jointly submit the following status report.

I.     The Nature of the Case

       A.     Attorneys of Record

       The attorneys for plaintiff Cynergy Data LLC (“Cynergy”) are Thomas E.L. Dewey,

David Pegno, and L. Lars Hulsebus of Dewey Pegno & Kramarsky LLP, 777 Third Avenue, 34th

Floor, New York, New York 10017; and Todd H. Flaming of KrausFlaming LLC, 20 South

Clark Street, Suite 2620, Chicago IL 60603. Lead trial counsel will be Thomas E.L. Dewey and

David S. Pegno.

       The attorneys for defendant BMO Harris Bank N.A. (“BMO Harris”) are Andrew W.

Vail, Benjamin J. Bradford, and Amit B. Patel of Jenner & Block LLP, 353 North Clark Street,

Chicago, Illinois 60654. Lead trial counsel will be Andrew W. Vail.

       B.     Basis for Federal Jurisdiction

       This Court has subject matter jurisdiction based on diversity of citizenship. Plaintiff is a

limited liability company organized under the laws of the State of Delaware with its headquarters
                                                 1
    Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 2 of 7 PageID #:177



in Alpharetta, Georgia. Plaintiff provides myriad credit card payment processing services to

small and mid-sized merchants throughout the United States. In 2014, Cynergy was acquired by

another payment processor, Priority Payment Systems LLC (“PPS”).

        PPS is a limited liability company organized under the laws of the State of Georgia with

its headquarters in Alpharetta, Georgia. Plaintiff’s members, as well as the members of its

members to its ultimate ownership are either (i) business entities formed under the laws of either

New York or Georgia each with their principal place of business in Georgia; or (ii) natural

persons who are citizens of states other than Illinois.

        BMO Harris is a national banking association with headquarters in Chicago, Illinois. For

the purposes of this action only, BMO Harris does not challenge that federal jurisdiction exists

here.

        C.     Nature of the Claims and Counterclaims

        Cynergy entered into an agreement with BMO Harris dated November 1, 2008, under

which BMO Harris agreed to act as the sponsor for Cynergy’s payment processing services

(together with its amendments, the “Agreement”). Cynergy brings this action for breach of

contract alleging that BMO Harris overcharged Cynergy and failed to provide information

requested pursuant to the parties’ Agreement. It also claims unjust enrichment, in the alternative

to the overcharge claim.

        The counterclaim alleges that Cynergy breached the confidentiality provisions of the

Agreement by publicly filing with this Court the proprietary fee schedule to that Agreement,

including without any advance notice to BMO Harris, causing BMO Harris damages.




                                                  2
    Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 3 of 7 PageID #:178



       D.      Legal and Factual Issues of the Case

               1.      Cynergy’s Statement:

       Under the Agreement, BMO Harris agreed to provide funding to Cynergy for Cynergy to

front “interchange fees” for merchants. An interchange fee is a fee charged by banks that covers

the cost of handling and credit risk inherent in a bank processing credit or debit card transactions.

       As a service to merchants, Cynergy advanced those daily fees on behalf of the merchants

and billed the merchants monthly. To the extent that funds in its settlement account at BMO

Harris were insufficient to front these fees, BMO Harris agreed to advance the shortfall, and

charged Cynergy interest, referred to as “interchange funding fees”. In early 2015, Cynergy

alleges that it determined that BMO Harris had been charging substantial interchange funding

fees even though there was no shortfall. Cynergy asked that BMO Harris provide information

regarding the fees it had charged, including amounts in Cynergy’s settlement account. The

Agreement provides that Cynergy is entitled to “any additional data related to this Agreement.”

Cynergy claims that, notwithstanding (and in breach of) that provision, BMO Harris refused.

Cynergy therefore brings this action to recover the overcharges it has paid.

               2.      BMO Harris’s Statement:

       BMO Harris asserts that it did not overcharge Cynergy for the interchange funding fees

because Cynergy did not have sufficient funds available to cover its interchange fee obligations.

Cynergy’s claim that it had sufficient funds is based on the availability of so-called “Merchant

funds,” which is the money that Cynergy owed to its merchants (e.g. stores) for purchases made.

The Agreement, however, expressly prohibits Cynergy from accessing Merchant funds and, thus,

BMO Harris asserts Cynergy could not have used those funds to pay the interchange fees.

Further, BMO Harris asserts the Agreement does not contain any provisions limiting BMO


                                                 3
      Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 4 of 7 PageID #:179



Harris’s funding based on the availability of Merchant funds and, instead, left interchange fee

funding in BMO Harris’s “sole discretion.”

        BMO Harris asserts Cynergy’s claim for additional data is undermined by the monthly

and daily invoices provided by BMO Harris, which detailed the interest charges. Further,

because BMO Harris properly calculated the interest due under the Agreement, it asserts that

Cynergy suffered no harm from its purported lack of information.

        Finally, BMO Harris asserts that Cynergy breached the Agreement itself by publicly

disclosing certain fees schedules to the Agreement, which were previously confidential.

        E.     Relief Sought

        Cynergy seeks the amount it alleges that it has been overcharged, which it alleges it has

calculated as $3,347,451.51. It also seeks the information regarding those fees, to which it

alleges it is entitled under the Agreement.

        BMO Harris seeks damages to compensate it for any and all harm caused by Cynergy’s

breach of the Agreement’s confidentiality provisions.

II.     Pending Motions and Case Plan

        A.     Initial Status Hearing

        The initial status hearing is set for May 15, 2018 at 9:00 a.m.

        B.     Pending Motions

        On May 7, 2018, BMO Harris filed an answer, affirmative defenses and counterclaim, as

well as a motion to dismiss under Rule 12(b)(6) and a supporting memorandum. The Court

entered a briefing schedule on BMO Harris’s motion to dismiss. Cynergy’s response is due May

31, 2018, and BMO Harris’s reply is due June 14, 2018.




                                                 4
    Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 5 of 7 PageID #:180



       C.      MIDP

       The parties’ counsel met and conferred regarding the requirements of the Mandatory

Initial Discovery Pilot Project (“MIDP”) on May 8, 2018, the day after BMO Harris timely filed

its responsive pleadings. The parties’ counsel had preliminary discussions regarding the scope of

discovery, custodians and case schedule, including discovery deadlines. They agreed to meet

and confer further, as well as to discuss any proposed limitations on the parties’ responses to

their mandatory initial discovery responses, on May 14, 2018.

       Initial answers to the MIDP initial discovery requests are due on June 6, 2018

       D.      Discovery Plan

               1)      The general type of discovery needed. The parties anticipate that they

               will need written and oral discovery.

               2)      Date to Issue Written Discovery. The parties may issue initial written

               discovery on or after July 11, 2018, which is about 30 days after the deadlines for

               MIDP initial discovery responses.

               3)      Deadline to Amend Pleadings. The parties agree that any amendments to

               their respective pleadings must be made by August 1, 2018.

               4)      Fact Discovery Cutoff. The parties agree that all written fact discovery

               must be issued on or before August 30, 2018 and responded to consistent with the

               Federal Rules of Civil Procedure; that all fact discovery must be completed by

               November 30, 2018.




                                                 5
       Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 6 of 7 PageID #:181



                5)      Expert Discovery Cutoff and Report Due Dates. The parties must serve

                opening expert reports for their affirmative matters of proof by December 21,

                2018, and any rebuttal expert reports must be served by January 18, 2019, and the

                parties must complete all expert discovery by February 28, 2019.

                6)      Dispositive Motion Deadline. As stated above, BMO Harris has filed a

                Rule 12(b)(6) motion to dismiss Cynergy’s complaint. Any dispositive motions

                filed pursuant to Rule 56 must be filed on or before March 30, 2019.

         E.     Jury Request

                1)      Jury Demand. Cynergy has demanded a trial by jury on its claims.

                2)      Probable Length of a Trial. The parties estimate the probable length of

                trial to be 3-4 days.

III.     Consent to Proceed Before a Magistrate Judge

         The parties do not consent to proceed before a Magistrate Judge.

IV.      Status of Settlement Discussions

         The parties had preliminary discussions concerning settlement, but they do not believe

further discussions will be productive at this time. The parties do not request a settlement

conference at this time.




                                                 6
   Case: 1:18-cv-01459 Document #: 36 Filed: 05/09/18 Page 7 of 7 PageID #:182



      Dated: May 9, 2018

                                      Respectfully Submitted,

/s/ Todd H. Flaming                       /s/ Andrew W. Vail

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                                          7
